       Case 4:20-cv-03411 Document 14-16 Filed on 11/30/21 in TXSD Page 1 of 2



                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

SHAIKH ENTERPRISES, INC.                     §
d/b/a Z S FOOD MART (A/K/A                   §
NAGHMA B. SHAIKH & BASHIR                    §
SHAIKH)                                      §
                                             §
      Plaintiff,                             §
                                             §
vs.                                          § Civil No. 4:20-cv-03411
                                             §
UNITED STATES OF AMERICA,                    §
                                             §
      Defendant.                             §
______________________________________________________________________________

                                         ORDER

         On this day the Court considered the Motion for Summary Judgment of

Defendant United States of America and all filings thereafter. After reviewing the

parties’ submissions, the applicable law, and after conducting a de novo review of the

administrative record in this case, the Court grants Defendant’s motion for each of the

reasons set forth therein and finds:

         That the evidence establishes that Plaintiff trafficked in Supplemental Nutrition

Assistance Program (SNAP) benefits in violation of SNAP regulations. The

disqualification penalty assessed by the United States Department of Agriculture,

Food Nutrition Service (FNS), was appropriate under the facts presented and

applicable regulations, and not arbitrary or capricious or a violation of Plaintiff’s

substantive or procedural due process rights.
                                             1
   Case 4:20-cv-03411 Document 14-16 Filed on 11/30/21 in TXSD Page 2 of 2



     It is therefore Ordered that the United States of America’s Motion for Summary

Judgment is GRANTED.

Signed this _____________ day of ___________________, 20___.



                                           __________________________
                                           DAVID HITTNER
                                           United States District Judge




                                       2
